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      EXHIBIT A-18
              Microsoft Computer Dictionary (Dkt. 29-18)
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      EXHIBIT 18
 Excerpt from Microsoft
  Computer Dictionary
(Alex Blanton & Sandra
Haynes eds., 5th ed. 2000)
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     conditioning
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                                                                                                                     -
                                                                                                             connection pooling


    machine language situations. Condition codes are hard-              location in the network. Packet loss and delays are associ-
    ware-specific but usually include carry, overflow, zero             ated with congestion .
    result, and negative result codes. See also conditional             connect charge n. The amount of money a user must
    branch.                                                             pay for connecting to a commercial communications sys-
    conditioning n. The use of special equipment to improve             tem or service. Some services calculate the connect charge
    the ability of a communications line to transmit data. Con-         as a flat rate per billing period. Others charge a varying
    ditioning controls or compensates for signal attenuation,           rate based on the type of service or the amount of informa-
    noise, and distortion. It can be used only on leased lines,         tion being accessed. Still others base their charges on the
    where the path from sending to receiving computer is                number of time units used, the time or distance involved
    known in advance.                                                   per connection, the bandwidth of each connected session,
    conductor n. A substance that conducts electricity well.
                                                                        or some combination of the preceding criteria. See also
                                                                        connect time.
    Metals are good conductors, with silver and gold being
    among the best. The most commonly used conductor is                 connection n. A physical link via wire, radio, fiberoptic
    copper. Compare insulator, semiconductor.                           cable, or other medium between two or more communica-
    Conference on Data Systems Languages n. See
                                                                        tions devices.
    CODASYL.                                                            connection-based session      11. A communications ses-

    CONFIG.SYS n. A special text file that controls certain
                                                                        sion that requires a connection to be established between
    aspects of operating-system behavior in MS-DOS and                  hosts prior to an exchange of data.
    OS/2. Commands in the CONFIG.SYS file enable or dis-                connectionism n. A model in artificial intelligence that
    able system features, set limits on resources (for example,         advocates using highly parallel, specialized processes that
    the maximum number of open files), and extend the oper-             compute simultaneously and are massively connected.
    ating system by loading device drivers that control hard-           Thus, the connectionist approach would not use a single
    ware specific to an individual computer system.                     high-speed processor to compute an algorithm, but would
    configuration n. 1. In reference to a single microcom-
                                                                        break out many simple specialized processing elements
    puter, the sum of a system's internal and external compo-           that are highly connected. Neural networks are classic
    nents, including memory, disk drives, keyboard, video,              examples of connectionism in that each "neuron" in the
    and generally less critical add-on hardware, such as a              network may be assigned to a single processor. See also
    mouse, modem, or printer. Software (the operating system            algorithm, artificial intelligence, neural network.
    and various device drivers), the user's choices established         connectionless adj. In communications, of, pertaining
    through configuration files such as the AUTOEXEC.BAT                to, or characteristic of a method of data transmission that
    and CONFIG.SYS files on IBM PCs and compatibles, and                does not require a direct connection between two nodes on
    sometimes hardware (switches and jumpers) are needed to             one or more networks . Connectionless communication is
    "configure the configuration" to work correctly. Although           achieved by passing, or routing, data packets, each of
    system configuration can be changed, as by adding more              which contains a source and destination address, through
    memory or disk capacity, the basic structure of the sys-            the nodes until the destination is reached. See also node
    tem-its architecture-remains the same. See also                     (definition 2), packet (definition 2) . Compare connection-
    AUTOEXEC.BAT, CONFIG.SYS. 2. In relation to net-                    oriented.
    works, the entire interconnected set of hardware, or the
                                                                        connectionless session     11. A communications session
    way in which a network is laid out- the manner in which
                                                                        that does not require a connection to be established
    elements are connected .
                                                                        between hosts prior to an exchange of data.
    configuration file n. A file that contains machine-read-
                                                                        connection-oriented adj. In communications , of, per-
    able operating specifications for a piece of hardware or
                                                                        taining to, or characteristic of a method of data transmis-
    software or that contains information on another file or on
                                                                        sion that requires a direct connection between two nodes
    a specific user, such as the user's logon ID.
                                                                        on one or more networks. Compare connectionless.
    congestion n. The condition of a network when the cur-
                                                                        connection pooling n. A resource optimization feature
    rent load approaches or exceeds the available resources
                                                                        of ODBC (Open Database Connectivity) 3 that results in
    and bandwidth designed to handle that load at a particular


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                                                                                                                 locale identifier
   u,.C

         Acronym for Logical Link Control. In the IEEE                 and is automatically invoked when a program is run. See
 1,.1-C n.
       specifications, the higher of two sublayers that make           also loader routine, load module.
 soz:   ISO/OSI data link layer. The LLC is responsible for            loader routine n. A routine that loads executable code
up t e ing communications links and handling frame traf-               into memory and executes it. A loader routine can be part
rnanag
flc. See also IEEE 802.x, MAC.                                         of an operating system or it can be part of the program
  mhosts file n. A local text file that lists the names of             itself. See also loader, overlay[ (definition I).
I. ork hosts (sometimes called NetBIOS names) to IP
netw                                                                   load module n. An executable unit of code loaded into
addresses for hosts that are not located on the local subnet.          memory by the loader. A program consists of one or more
See also IP address, systemroot.                                       load modules, each of which can be loaded and executed
load1 n. 1. The total computing burden a system carries                independently. See also loader.
   one time. 2. In electronics, the amount of current                  load point n. The beginning of the valid data area on a
at                                  . .     h         f
drawn by a device. 3. In communicat10ns, t e amount o                  magnetic tape.
traffic on a line.
                                                                       load sharing   11.   A method of managing one or more
load2 vb. To place information from storage into memory
                                                                       tasks, jobs, or processes by scheduling and simulta-
for processing, if it is data, or for execution, if it is pro-         neously executing portions of them on two or more
gram code.                                                             microprocessors.
load-and-go adj. In reference to a routine, able to begin              load shedding n. In electrical systems, the process of
execution immediately, once loaded. The term is com-                   turning off power to some electronic equipment in order to
monly used in reference to compilers and the machine                   maintain the integrity of the power supply to other con-
code they generate.                                                    nected devices. See also UPS.
load balancing n. 1. In distributed processing, the distri-
                                                                       lobby page n. A page of information about the broadcast
 bution of activity across two or more servers in order to             that is displayed in the viewer's browser before the broad-
avoid overloading any one with too many requests from                  cast begins. It can contain a title, subject, host's name,
 users. Load balancing can be either static or dynamic. In             information about the broadcast, and a countdown to the
 the former, the load is balanced ahead of time by assigning           time of the broadcast.
different groups of users to different servers. In the latter,
software refers incoming requests at runtime to whichever              local adj. 1. In general, close at hand or restricted to a
server is most capable of handling them. 2. In client/server           particular area. 2. In communications, a device that can be
network administration, the process of reducing heavy                  accessed directly rather than by means of a communica-
traffic flows either by dividing a busy network segment                tions line. 3. In information processing, an operation per-
into multiple smaller segments or by using software to dis-            formed by the computer at hand rather than by a remote
tribute traffic among multiple network interface cards                 computer. 4. In programming, a variable that is restricted
working simultaneously to transfer information to a                    in scope, that is, used in only one part (subprogram, proce-
server. 3. In communications, the process of routing traffic           dure, or function) of a program. Compare remote.
over two or more routes rather than one. Such load balanc-             local area network       11.   See LAN.
ing results in faster, more reliable transmissions.
                                                                       local bus n. A PC architecture designed to speed up sys-
loaded line n. A transmission cable fitted with loading                tem performance by allowing some expansion boards to
coils, usually spaced about a mile apart, that reduce ampli -          communicate directly with the microprocessor, bypass-
tude distortion in a signal by adding inductance (resistance           ing the normal system bus entirely. See also PCI local
to changes in current flow) to the line. Loaded lines mini-            bus, VL bus.
mize distortion within the range of frequencies affected by
                                                                       local bypass n. A telephone connection used by some
the loading coils, but the coils also reduce the bandwidth
                                                                       businesses that links separate buildings but bypasses the
available for transmission.
                                                                       telephone company.
loader n. A utility that loads the executable code of a pro-
                                                                       locale identifier n. A 32-bit value that consists of a lan-
gram into memory for execution. On most microcomput-
                                                                       guage identifier and a sort identifier. In code, a locale
ers, the loader is an invisible part of the operating system



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